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                        IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

    MICHAEL D. HELM                                                             PLAINTIFF

                 v.                  Civil No. 07-2112

    SUN LIFE ASSURANCE COMPANY OF CANADA                                        DEFENDANT


                                           O R D E R

          Now   on     this   24th    day       of   November,   2008,    comes   on    for

    consideration the captioned matter, and from the Administrative

    Record, and the briefs of the parties, the Court finds and orders

    as follows:

          1.     The pending action is an appeal of an administrative

    decision    under     the   Employee         Retirement      Income   Security      Act

    ("ERISA").        When the events in suit began, plaintiff Michael D.

    Helm ("Helm") was the President and CEO of Sparks Health System in

    Fort Smith, Arkansas ("Sparks"), and was a participant in an

    employee welfare benefit plan (the "Plan") sponsored by Sparks and

    insured by defendant Sun Life Assurance Company of Canada ("Sun

    Life").

          2.     Sparks was both the Plan Administrator and the Plan

    Sponsor, but it delegated to Sun Life "its entire discretionary

    authority to make all final determinations regarding claims for

    benefits under the benefit plan . . . ."                       Where an ERISA plan

    administrator        --   or,     by     extension,      its     delegate     --    has

    discretionary        authority         to    make    benefits      decisions,       the
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    administrative    decision   is   judicially     reviewed     for   abuse     of

    discretion. Groves v. Metropolitan Life Insurance Co., 438 F.3d

    872 (8th Cir. 2006).

          In abuse of discretion review, the Court must affirm the

    administrative decision if a reasonable person could have reached

    the same decision on the evidence before the administrator --

    i.e., the evidence in the Administrative Record -- regardless of

    whether that hypothetical reasonable person actually would have

    reached the same decision.          The quantum of proof required is

    "substantial evidence," which has been defined as "more than a

    scintilla, but less than a preponderance."            Ferrari v. Teachers

    Insurance & Annuity Ass'n., 278 F.3d 801, 807 (8th Cir. 2002).

    Both the quantity and the quality of the evidence are evaluated in

    this light, and courts are "hesitant to interfere" with the

    administrative decision.     Groves, supra.

          3.   The foregoing standard is not absolute and inflexible.

    Where a plaintiff presents "probative evidence demonstrating that

    (1) a palpable conflict of interest or a serious procedural

    irregularity existed, which (2) caused a serious breach of the

    plan administrator's fiduciary duty," the level of deference is

    adjusted to take those factors into consideration.            Woo v. Deluxe

    Corp., 144 F.3d 1157, 1160 (8th Cir. 1998).             When circumstances

    justify application of the sliding scale approach, "the evidence

    supporting the plan administrator's decision must increase in

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    proportion to the seriousness of the conflict or procedural

    irregularity."     144 F.3d at 1162.

          In Metropolitan Life Insurance Co. v. Glenn, --- U.S. ---,

    128 S.Ct. 2343 (2008), the Supreme Court held that where a plan

    administrator     (whether     employer       or   insurance      company)    "both

    evaluates    claims    for    benefits    and      pays   benefits     claims,"   a

    conflict exists. Based on Glenn, the Court concludes that the

    first factor of the Woo test is met.

          4.     Neither   a     conflict    of     interest    nor    a   procedural

    irregularity will trigger sliding scale analysis unless it causes

    a serious breach of the Plan Administrator's fiduciary duty.

          The alleged procedural irregularity must have some
          connection to the substantive decision reached by the
          administrator, and give rise to "serious doubts" about
          whether the result reached was the product of "an
          arbitrary decision" or "whim," before we vary from the
          usual standard of review.

    LaSalle v. Mercantile Bancorporation, Inc. Long Term Disability

    Plan, 498 F.3d 805, 809 (8th Cir. 2007).

          An ERISA plan administrator is called upon to "discharge

    [its] duties in respect to discretionary claims processing solely

    in the interests of the participants and beneficiaries of the

    plan."     Glenn, supra, 128 S.Ct. at 2350 (internal quotation marks

    omitted).       That   does     not     mean,      of   course,    that   a    plan

    administrator is charged with finding a way to provide benefits in

    every case.     Fiduciary obligations extend to the plan as a whole,


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    and all its beneficiaries, not just the individual beneficiary,

    and a breach occurs when benefits are granted to an unqualified

    claimant,   just   as   surely   as   when   benefits   are   denied    to     a

    qualified claimant.      Barnhart v. UNUM Life Insurance Company of

    America, 179 F.3d 583,     586-87 (8th Cir. 1999).      However, when the

    financial interests of the fiduciary -- rather than the merits of

    the claim -- affect a benefits decision, fiduciary duty is clearly

    breached.

          5.    The alleged breach of fiduciary duty in the case at bar

    is Sun Life's reliance on the opinion of one medical consultant --

    who only examined Helm's medical records -- rather than the

    opinions of four doctors who examined and/or treated Helm.                   The

    Court has also considered, in this regard, Sun Life's failure to

    obtain the opinion of another medical consultant who examined only

    records on the central issue of job stress and its impact on

    Helm's health.

          Helm reasons that this breach was caused by the conflict of

    interest, and the Court finds his argument persuasive.                       The

    Administrative Record reflects that -- to the extent Helm was

    eligible for benefits -- he was eligible for the maximum amount,

    $10,000 per month.      Under the Plan, benefits are payable to a

    predetermined Maximum Benefit Period or Normal Retirement Age,

    whichever is longer.      For Helm, born in October, 1946, benefits

    would be payable until he is 66 years of age.             As will be seen


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    from the summary below, benefits were stopped when Helm had just

    turned 60.    An additional six years of benefits, at $10,000 per

    month, would cost Sun Life some $720,000.

          For the reasons set forth below, the enormous savings Sun

    Life will realize if benefits in the case terminate as of November

    30, 2006, coupled with its reliance entirely on one consultant's

    opinion in the face of strong, credible evidence in contradiction

    thereof, create serious doubts in the Court's mind about whether

    the result reached was an arbitrary decision.              The Court will,

    therefore, evaluate the facts set forth in the Administrative

    Record with less than the usual deference to the administrative

    decision on appeal.

          6.   The   Plan   defines     "Total    Disability"     and   "Totally

    Disabled," for purposes of long term disability ("LTD") benefits,

    as follows:

          . . . during the Elimination Period and the next 24
          months, the Employee, because of Injury or Sickness, is
          unable to perform the Material and Substantial Duties of
          his Own Occupation. After Total or Partial Disability
          benefits combined have been paid for 24 months, the
          Employee will continue to be Totally Disabled if he is
          unable to perform with reasonable continuity any Gainful
          Occupation for which he is or becomes reasonably
          qualified for by education, training or experience.

          "Gainful Occupation" is defined as "employment that is or can

    be expected to provide an Employee with an income of at least 60%

    of his Indexed Total Monthly Earnings."

          LTD benefits cease on the date the employee is no longer


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    totally disabled or,

             after the first 24 months of Total or Partial
             disability, the date Sun Life determines the Employee is
             able to perform on a full-time basis, any Gainful
             Occupation for which he is or becomes reasonably
             qualified for by education, training or experience, even
             if the Employee chooses not to work.

             Helm's "own occupation" disability period ended on September

    28, 2005, and the Plan's "any occupation" clause applies to the

    benefits decision in this case.

             Helm's salary was such that, once the necessary adjustments

    under the Plan were made, any job would have to pay at least $57

    per hour to amount to a "Gainful Occupation" for him.

             7.     The Administrative Record reflects the following medical

    facts relevant to the Court's decision:

             *      A June 3, 2002, routine physical exam by Dr. J. David

    Staggs,       an   Internal     Medicine     specialist      and   Helm's    treating

    physician for many years, found that Helm had no problems other

    than occasional mild knee pain, an elevated cholesterol level, and

    some weight gain.

             *      On November 2, 2002, Helm suffered a spell of syncope1.

    He was hospitalized, and the problem was diagnosed as "severe

    cardiomyopathy."2            Echocardiogram         showed     "[s]evere       global

    hypokinesis of the left ventricle" and left ventricular ejection


         1
          According to Stedman's Medical Dictionary, 28th Edition (the source of all the
    medical definitions in this opinion), syncope is loss of consciousness and postural tone
    caused by diminished cerebral blood flow.

         2
             A primary disease process of the heart muscle.

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    fraction estimated at 17.5.

             *      By November 14, 2002, Helm had returned to work and was

    "tolerating that without difficulty."

             *      Echocardiogram of December 12, 2002 revealed "[f]our-

    chamber       dilatation,"       "severe      global    hypokinesis"3      and    "left

    ventricular systolic function is severely depressed with ejection

    fraction4 estimated at 20%."                 Dr. Staggs noted an intention to

    refer Helm to "a major center" after "we have reached medical

    stability."

             *      On February 26, 2003, Helm saw Guillermo Torre, M.D.,

    Ph.D., Medical Director of the Heart Transplant Program at Baylor

    College       of   Medicine.        Dr.     Torre   noted    that   Helm    had   done

    "extremely well" since beginning treatment, and was "able to

    perform all activities of daily living."                    He noted that Helm had

    a sister diagnosed with cardiomyopathy at age 325 and a son

    diagnosed with it at age 23.                 His impression was "non-ischemic6

    cardiomyopathy, probably hereditary," and he felt that aggressive

    medical therapy was important.

             *      On April 16, 2003, Dr. Staggs noted that Helm "has



         3
             Diminished or slow movement.

         4
           The fraction of the blood contained in the ventricle at the end of diastole that
    is expelled during its contraction, normally 0.55 or greater.

         5
          Elsewhere a note by Dr. Nasir indicates that this sister actually died of her
    disease at age 32, and had previously been in good health.

         6
           Meaning that the cardiomyopathy was not caused by an obstruction of a blood
    vessel.

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    functional limitations in that he fatigues very easily," has some

    "occasional dizziness" but no syncope, chest pain or dyspnea7.

    Dr. Staggs went on to state "We have also talked today about his

    work situation.          I really think it would be in his best interest

    to seek disability and early retirement given the magnitude of his

    cardiomyopathy and the stress of his job.                    I think this is

    something that needs to be considered in the relatively near

    future."

             *      On April 22, 2003, Nadim Nasir, M.D., Medical Director

    of   Electrophysiology          Laboratories   at    Texas   Medical     Center,

    implanted an atrial biventricular resynchronization defibrillator

    in Helm.       Dr. Nasir indicated that Helm was using a treadmill "for

    35 minutes without fatigue or SOB."

             *      On May 7, 2003, Dr. Nasir noted that Helm "[r]eally has

    not had much fatigue or SOB before device.              Same now as before."

             *      June 30, 2003, was Helm's last day on the job.            It was

    at this point that he applied for benefits under the Plan.

             *      On August 22, 2003, Dr. Torre completed an Attending

    Physician's Statement ("APS") in which he noted a diagnosis of

    systolic heart failure, and assessed Helm as having slight to

    moderate limitation of cardiac function, moderate limitation of

    physical function, and ability "to engage in only limited stress

    situations and engage in only limited interpersonal relations."


         7
             Shortness of breath.

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    Dr. Torre defined "stress as it applies to this patient" as "high

    level decision making."                   He opined that Helm was capable of

    working       within         his    limitations,      and    of   working       at    another

    occupation         on    a    full-time     basis,     but    that   job    modification

    (presumably referring to Helm's own occupation) would not enable

    Helm to work with his impairments.

            *      On August 26, 2003, Dr. Staggs completed an APS in which

    he noted a diagnosis of dilated cardiomyopathy and assessed Helm

    as   having        marked          limitation    of   cardiac     function,          moderate

    limitation of physical function, and slight limitation as to

    stress situations and interpersonal relations. Dr. Staggs defined

    "stress       as        it     applies     to     this      patient"       as    "Hospital

    Administrator." He opined that Helm was not capable of working at

    another occupation on a full-time basis and would never be able to

    do so, even with vocational rehabilitation and job modification.

            *      On November 19, 2003, William Watson, M.D., conducted a

    review of Helm's file for Sun Life.                           Dr. Watson noted the

    improvement in Helm's condition following medication and the

    implantation of the defibrillator. He noted that Helm was working

    in April, 2003, before the defibrillator was implanted, and

    concluded that he was "not apparently disabled" at that time and

    had improved since.                He noted there was no evidence of congestive

    heart       failure      or    coronary     artery     disease.        He   stated       that

    "[s]tress would cause an increase in B[lood] P[ressure] and/or


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    heart rate," and that there was "no evidence that this is the

    case."     He found Helm had "very few limitations other than his

    weight."    Dr. Watson did not discuss the impact stress might have

    or not have on Helm's cardiomyopathy.

          *     Sun Life sent a copy of Dr. Watson's report to Dr.

    Staggs for comment.        On December 8, 2003, Dr. Staggs wrote:                 "I

    must strongly disagree with [Dr. Watson's] assessment of Mr. Helm.

    He has merely reviewed records.             I have actually seen Mr. Helm,

    both as a patient and in his capacity as a hospital administrator,

    and I do not feel, given his cardiac status, that he is able to

    resume such a high-stress job.              In fact, I think it would be

    markedly detrimental to his health to do so and I will strongly

    advise him against that.           I believe that a good bit of Mr. Helm's

    functional improvement has been from the fact that he is no longer

    fully engaged as a hospital administrator, and to resume that type

    of activity I think would be detrimental.                    Given an ejection

    fraction    of   17%   when    diagnosed      and   the    fact   that   he   will

    eventually likely be a candidate for cardiac transplantation, I

    just cannot in good conscience agree with this assessment from

    your consultant."

          *     On   January      6,    2004,   Gregory       McWilliams,    D.O.,    a

    Cardiologist, conducted an independent medical examination of Helm

    at the request of Sun Life.              He also reviewed Helm's medical

    records.    Dr. McWilliams opined as follows:


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             "At this time Mr. Helm is in a vigorous exercise rehab

    program at a local fitness center.                  He has employed a personal

    trainer to improve his physical condition.                      He performs weight

    lifting as well as aerobic exercise for approximately an hour, 3

    to 4 times a week.               Patient denies angina type symptoms.                He

    rarely naps throughout the day.              He continues to be active.        Major

    complaint is one of fatigue at the end of the day."

             "At    this    time     it    appears    that    the   patient's   dilated

    idiopathic8 cardiomyopathy has improved with the aid of vigorous

    medical therapy as well as biventricular pacing with an ejection

    fraction of 20% to 30%.               Based on the objective medical evidence

    it is accurate to say that his cardiomyopathy may improve slightly

    but I would doubt if the ejection fraction improved over 35%.                        At

    this time the patient has no symptoms of congestive heart failure

    other than fatigue."

             "With the findings of a current ejection fraction with 20% to

    30% with excellent medical therapy as well as defibrillator and

    biventricular pacing, I would preclude Mr. Helm from performing

    activities in a high stress situation.                   I feel that high stress,

    long hour workload, whether they are sedentary or not, would

    contribute to his demise.                I feel that Mr. Helm can work in a

    sedentary capacity although not in a position that includes a high

    level of stress.             He should not be in a position that has a long


         8
             Of unknown cause.

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    hour workload."

            "His inability to perform in a sedentary capacity with a high

    level of stress is due to his cardiomyopathy."

            *     On February 20, 2004, Sun Life notified Helm that it had

    approved his claim for "own occupation" LTD benefits, payable as

    of September 29, 2003.

            *     On   July   13,   2004,   Karla    Forgiel,    a   Fellow   of   the

    American Board of Vocational Experts, conducted an Employability

    Assessment of Mr. Helm at Sun Life's request.               Forgiel calculated

    that Helm's "gainful wage" was $57 per hour.                She noted that the

    most recent medical documentation (the report of Dr. McWilliams)

    indicated that Helm was able to do sedentary work but not with a

    high level of stress, due to his cardiomyopathy.                   Forgiel also

    found       that   Helm   could    perform      other     occupations     in   his

    geographical area, but could not earn in the range close to his

    targeted gainful wage.            As she explained, "top executives are

    among the highest paid workers; however, long hours, considerable

    travel,      and   intense   pressure     to    succeed    are   common."      She

    concluded that Helm could not do his own occupation, and stated "I

    cannot identify any other occupation that Mr. Helm can do and earn

    the required $57 per hour."

            *     On August 18, 2004, Dr. Nasir noted that Helm had no

    chest pain, palpitations, or dizziness, and that his dyspnea had

    not increased.        Helm was "walking 3 to 4 miles a day and also


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    exercising 3 days a week without any problems."

           *      On    August   19,   2004,      Dr.    Torre      completed    an    APS,

    assessing Helm only slight limitations as to physical functioning,

    cardiac functioning, and engaging in stress situations. He opined

    that Helm was capable of working full-time within his limitations,

    but   noted    that     he   had   not    reviewed        the    duties    of   Helm's

    occupation.

           *      On November 15, 2004, Dr. Staggs noted that Helm had

    gained weight "despite pretty vigorous physical exercise," and

    that he "has had no chest pain and no real dyspnea.                         He still

    fatigues a little easily but I think has stayed fairly stable."

           *      On February 16, 2005, Helm saw Dr. Torre, who noted that

    he "exercises for approximately 1 hour on a treadmill four days a

    week, without difficulty," but "does get short of breath while

    climbing upstairs."

           *      On February 25, 2004, Dr. Torre noted that a recent

    echocardiogram showed an ejection fraction of 40-44%.

           *      Helm saw Dr. Nasir on March 2, 2005. On that visit his

    ejection fraction was up to 46% and he "feels fine."

           *      On July 19, 2005, Dr. Staggs completed an APS, in which

    he    noted    severe     limitation     of     functional       capacity,      marked

    restriction        of   cardiac    function,        and   stated    that    Helm    was

    permanently incapable of part-time or full-time work.                      Dr. Staggs

    added the following note:           "Although Mr. Helm has stabilized, he


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    has severe heart disease and physical impairment.                 He is strongly

    advised against resuming work, even sedentary, as it is my opinion

    it would shorten his life expectancy."

           *     On July 31, 2005, Helm completed a Claimant Activity

    Questionnaire.       In it he indicated that his activities were

    limited by general fatigue and that he had decreased ability to

    think and concentrate since his condition began.

           *     September 28, 2005, was the end point of the 24-month

    "own occupation" period for payment of LTD benefits.                   Sun Life

    continued to pay      Helm benefits, however, while it evaluated his

    case under the "any occupation" clause of the Plan.

           *     On January 16, 2006, Helm saw Dr. Staggs for "complete

    physical reassessment."           He complained of tiring easily and

    shortness of breath especially when climbing stairs.                       He had

    recently fallen when getting up out of a chair, but did not know

    if he had passed out or not.        Dr. Staggs noted "[o]f significance

    is the fact that his heart size has decreased quite a bit."

           *     On January 24, 2006, an echocardiogram revealed that

    left   and   right   ventricle    and     atrial    size   were    normal,   with

    "[b]orderline      concentric     left    ventricular      hypertrophy,"      and

    ejection fraction was 55-59%.

           *     On   January   25,   2006,    Dr.     Torre   noted    that   Helm's

    "symptoms have not changed significantly," that he "gets fatigued

    with minor physical activity" and short of breath climbing stairs,


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    but was "able to walk on a daily basis."

            *      On    September      14,    2006,    Dr.    Staggs    saw    Helm   for

    reassessment and to complete Social Security disability forms. He

    noted Helm was "still very limited in his activity levels," and

    listed as his impressions "[n]onischemic cardiomyopathy, sleep

    apnea, hyperlipidemia, morbid obesity."                   He concluded that Helm's

    "long       term    outlook   is   very    poor    given    the    constellation    of

    findings that he has."             Dr. Staggs completed a Physical Residual

    Functional Capacity Evaluation in which he opined that Helm's

    "combination of impairments" would "interfere with sustained work

    activity," and noted that "[t]his is a chronic condition with an

    inherently high mortality rate."

            *      On November 20, 2006, J. Michael Gaziano, M.D., M.P.H.,

    of   the     Division    of    Aging      at   Brigham     and    Women's   Hospital,

    conducted an evaluation of Helm's medical records at the request

    of Sun Life.         Dr. Gaziano noted the improvement in Helm's cardiac

    condition since treatment began, and his tolerance of a vigorous

    exercise program, and concluded that he had "excellent functional

    capacity" and that "[g]iven his overall cardiac status and his

    functional capacity on testing and under observation, he should be

    able to resume his normal work-related activities on a full-time

    basis."

            With regard to the effect of stress on Helm's physical

    condition, Dr. Gaziano offered the following:


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          "There is no evidence that avoidance of stressful situations

    is an optimal strategy for the management of stress or is a means

    of lowering risk of future events in those with cardiomyopathy.

    The topic of stress and heart disease is quite complex and

    involves several issues. The following is a summary of my opinion

    of several issues regarding the impact of stress on the heart."

          "First, is the difficulty we have in defining and assessing

    'stress.'     Stress is a feeling we all have at various times.

    Stress is a characteristic of a given individual's reaction to a

    situation    and   not    an    inherent     characteristic      of    any   given

    situation.       One person may feel stress in one situation while

    another    may    not   in   that   same     situation.        Since    it   is    a

    characteristic of the individual and not a specific situation, it

    is likely that the individual who feels stress in one situation

    may have stress under other circumstances.               Thus, it is not clear

    that avoidance of a certain situation will reduce stress in a

    patient's life.         If a patient has what I feel to be excessive

    anxiety at work (or in other situations such as at home) that

    precludes someone from working, I generally feel that issue must

    be addressed by a specialist who deals with stress and I will make

    a referral to a psychiatrist."

          Dr. Gaziano also opined that "[t]here is no conclusive

    evidence    stress      plays   a   major    role   in   the   development        of

    cardiomyopathy.         Further, there are no data that suggest the


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    avoidance of work, as a management strategy designed to address

    work-related stress will in any way impact the course of this

    condition."     He stated that Dr. Staggs' opinion, that return to

    his job would shorten Helm's life expectancy, "is not supported by

    the literature. . . . There is no evidence that avoidance of the

    type of largely sedentary work that Mr. Helm engaged in will

    prolong life or engagement will shorten it."

          *     On December 6, 2006, Sun Life notified Helm that it

    found him no longer qualified for benefits under the Plan.                    It

    relied largely on Dr. Gaziano's opinion, but also on surveillance

    tapes of Helm showing him engaging in normal activities such as

    driving a car, doing errands, and campaigning for public office.

    Sun Life relied in particular on the fact that Helm ran for

    election to the Arkansas House of Representatives in 2006, which

    it considered inconsistent with the functional abilities assessed

    by Helm's treating physicians.

          *     Helm appealed this decision, and on February 13, 2007,

    submitted letters from Dr. Torre (dated February 2, 2007) and Dr.

    Nasir (dated February 5, 2007).       Dr. Torre reiterated his opinion

    that in spite of medical improvement in his condition, Helm

    "continues to have symptomatic diastolic heart failure and left

    ventricular hypertrophy," and "qualifies for disability based on

    diastolic     heart   failure,   left     ventricular     hypertrophy     and

    cardiomyopathy.


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          Dr. Nasir stated that although Helm "has had an excellent

    response to therapy, he continues to have a serious and life-

    threatening medical condition, namely nonischemic cardiomyopathy,

    and requires continued therapy with heart failure medication and

    continued treatment with his implantable defibrillator delivery

    cardiac resynchronization therapy to maintain his current level of

    functional capabilities.         In my opinion, a significant portion of

    his improvement has come as a direct result of avoiding the

    substantial    stresses        experienced    in    his   former      day-to-day

    employment.       Continuing to avoid these physical and emotional

    stresses    would    be   an   important     and    continuing    part   of   his

    therapy."

          *     Sun Life submitted Helm's file to Gregory Helmer, M.D.,

    a Cardiologist, for review. Dr. Helmer was asked to identify "any

    functional restrictions and/or limitations that are supported by

    the medical evidence." Dr. Helmer stated that he "agree[d] with

    Dr.   Gaziano's     recommendation    in     that   I   would   not   limit   his

    standing or walking," and noted that "regular activity, actually

    walking and exercise would be recommended, as I would agree that

    it would be best to have him work to his full functional ability."

    Dr. Helmer was not asked to opine about the effect of stress on

    Helm's underlying heart disease, nor did he do so.               He limited his

    "agreement" with Dr. Gaziano's recommendation in such a way that

    it did not encompass Dr. Gaziano's opinion about stress.


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          *     On May 14, 2007, Sun Life notified Helm that it had

    concluded "that the decision to deny further benefits on this

    claim was appropriate."         The letter noted that "when considering

    the duties of Mr. Helm's occupation, his education, training,

    experience,      and   the   medical    documentation       on   file,     we    have

    determined that he has the capacity to perform the essential

    duties of his own as well as any occupation. . . ."

          8.    As   can   be    seen    from    the   foregoing     summary    of    the

    Administrative Record, there is no disagreement that Helm has a

    life-threatening medical condition; that it became symptomatic in

    November, 2002; that it was appropriately treated; that Helm

    experienced significant improvement; and that Helm is today fully

    capable of working at sedentary occupations that do not include a

    significant component of job stress.               The dispute in this matter

    centers    entirely    on    the    impact    of   stress   on   Helm's    medical

    condition, and the issue before the Court is whether there is

    substantial evidence to support Sun Life's decision that job

    stress would have no adverse effect on Helm.

          Helm's treating physicians, Dr. Staggs, Dr. Torre, and Dr.

    Nasir, are all of the opinion that Helm cannot resume his own

    occupation or work under stress.              Dr. Staggs is of the opinion

    that it would shorten Helm's life expectancy to do so; Dr. Nasir

    is of the opinion that the improvements in Helm's condition are

    related to the relief from stress he experienced by leaving his


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    job.

           Dr. McWilliams, the independent medical examiner engaged by

    Sun Life, agreed with Helm's doctors on the issue of stress.                          He

    was of the opinion that stress would contribute to Helm's demise.

           Sun Life's consultant Dr. Watson did not concede that Helm

    was subjected to any job stress, an opinion the Court rejects in

    light of Helm's job description9 and Sun Life's own consultant

    Forgiel, who opined that in the type of work Helm did, "intense

    pressure to succeed" is common.

           Sun Life's consultant Dr. Helmer was not specifically asked

    to comment on the effect of stress on Helm's health, and avoided

    offering any such comment, focusing instead on Helm's functional

    limitations and limiting his agreement with Dr. Gaziano's opinion

    to functional ability.           Since there is no dispute that Helm can

    work at low-stress sedentary occupations without increased risk,

    and the impact of stress had become the central issue in the case

    by the time Dr. Helmer was consulted, the Court finds these

    aspects of the query to Dr. Helmer, and Dr. Helmer's response,

    significant.

           Arrayed against all these opinions -- which either strongly



         9
           According to Helm's Job Description, he "administers, directs, and coordinates all
    activities of the Medical Center to carry out its objectives in the provision of health
    care, furtherance of education and research, and participation in community health
    programs."    He supervised the Executive Vice President, Vice President Finance and
    Information, Director of Medical Affairs, Internal Auditor, and Administrative
    Assistant.    He "sometimes" worked "long and irregular hours," and was expected to
    "[c]ontinually demonstate[] a helpful, positive attitude, through patience, tact, and
    courtesy in the daily contacts with co-workers, patients, and general public."

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    support Helm's position, or are essentially neutral -- is the lone

    opinion of Dr. Gaziano, who opined that there is "no conclusive

    evidence     stress    plays   a   major     role   in   the   development      of

    cardiomyopathy," and "no evidence that avoidance of stressful

    situations . . . is a means of lowering risk of future events in

    those with cardiomyopathy."

           The rule in this Circuit is that "[w]hen there is a conflict

    of opinion between a claimant's treating physicians and the plan

    administrator's reviewing physicians, the plan administrator has

    discretion to deny benefits unless the record does not support

    denial." Johnson v. Metropolitan Life Insurance Company, 437 F.3d

    809, 814 (8th Cir. 2006).          In the case at bar, there is not only

    a conflict between Helm's treating physicians and Sun Life's

    consultant Dr. Gaziano, there is a conflict between Sun Life's

    consultant Dr. Gaziano and its independent medical examiner Dr.

    McWilliams.     This fact considerably lessens the discretion the

    Court affords to Sun Life's reliance on Dr. Gaziano.

           While ERISA plan administrators "are not obliged to accord

    special deference to the opinions of treating physicians," they

    cannot   "arbitrarily     refuse     to    credit   a    claimant's   reliable

    evidence." Black & Decker Disability Plan v. Nord, 538 U.S. 822,

    825,   834   (2003).      Without     question,     Helm    offered   reliable

    evidence.    His treating physicians are all highly trained medical

    professionals at respected medical facilities who treated Helm


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    over    a    long   period    of   time,   not    general    practitioners       or

    practitioners in unrelated fields who offered uninformed opinions

    after only one or two consultations.             Their opinions are based on

    objective tests reflecting a serious medical condition, not simply

    on the subjective complaints of their patient.

            In accepting the isolated opinion of Dr. Gaziano, Sun Life

    refused to credit all this evidence.                   That such refusal was

    arbitrary is shown by Sun Life's own conduct in picking and

    choosing -- from among several consultants -- the one whose

    opinion was preferred.

            9.    Sun   Life     contends   that     it   did   not   disregard   Dr.

    McWilliams' opinion, but rather that between the date of Dr.

    McWilliams' exam and its termination of benefits, Helm's condition

    improved to the point that he was no longer disabled.                 The Court

    might be inclined to consider this argument more favorably had Sun

    Life asked Dr. McWilliams if this improvement altered his opinion,

    or had it asked Dr. Helmer to evaluate the impact of stress on

    Helm.    Sun Life's failure to do so, as to both Dr. McWilliams and

    Dr. Helmer, undermines its position that Helm's improvement had

    ended his disability.         Nor do the surveillance records, so touted

    by Sun Life, prove its case.            The fact that a person can drive a

    car, put up campaign signs, make campaign speeches, and expect to

    serve as a state representative does not prove his ability to

    carry out the duties of a high stress employment position.                    The


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    activities shown by surveillance are not particularly high-stress

    activities10.

             10.    The case relied upon most heavily by Sun Life, Leipzig

    v. AIG Life Insurance Co., 362 F.3d 406 (7th Cir. 2004), is

    readily distinguishable from Helm's case.                 It was decided before

    the Supreme Court handed down Glenn, and the Seventh Circuit fully

    deferred to the administrative decision.               Indeed, the court there

    -- while       unwilling to assume any conflict of interest on the part

    of   a    plan    administrator     who   was   also    the   plan    insurer     --

    apparently agreed with the plan administrator's view that

             Leipzig's own doctors likely had taken their more
             conservative position at his request. Most of the time,
             physicians accept at face value what patients tell them
             about their symptoms; but insurers such as AIG must
             consider   the   possibility    that   applicants   are
             exaggerating in an effort to win benefits (or are
             sincere hypochondriacs not at serious medical risk).

             In the case at bar, the medical records show that Helm did

    not exaggerate his symptoms to obtain a favorable report from his

    doctors.        He complained of little more than fatigue and shortness

    of breath throughout the time period covered by this case.                       The

    idea of medical retirement does not appear to have originated with

    Helm, but rather was         suggested and recommended by Dr. Staggs.

             In addition, in Leipzig the plan administrator's independent

    medical        examiner   found   the   claimant    not    disabled,     and   thus


         10
            The Court recognizes that for some people making a speech is a high-stress
    activity, but for many others it is a natural and comfortable thing.      There is no
    evidence in the Administrative Record that public speaking was a stressor for Helm.

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    supported         the        termination        of    benefits.           Here,     the    Plan

    Administraator's independent medical examiner found Helm unable to

    return to his own occupation, or any high stress occupation.

          11.    The        Court       did   not    take     into     consideration      certain

    evidence relating to Social Security disability benefits.                                 After

    submission of the briefs in this matter, Helm filed a Motion To

    Supplement Record (document #15), in which he asks the Court to

    include     in     its        review      a    recent      favorable      Social     Security

    disability decision.                This motion was opposed by Sun Life.

          The motion will be denied.                        The Court has not considered

    either      the     first        (unfavorable)            Social    Security       disability

    decision, or the second (favorable) one.                             Neither decision is

    particularly informative, and the standards for granting benefits

    under the Plan are quite different from those required to obtain

    Social Security benefits. In addition, the second Social Security

    decision was not rendered in time to be considered by Sun Life in

    making its benefits decision.

          12.    When the Court considers all the evidence in light of

    the reduced level of deference it finds appropriate, given the

    fact that Sun Life stood to save an enormous sum of money by

    terminating         Helm's          benefits,        it    concludes      that      Sun    Life

    arbitrarily chose to accept the opinion of Dr. Gaziano over the

    opinions of Dr. Staggs, Dr. Torre, Dr. Nasir, and Dr. McWilliams.

    The   opinions          of    Dr.    Staggs,      Dr.     Torre,    Dr.    Nasir,    and    Dr.


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    McWilliams all support a finding of disability.                        Under these

    circumstances, the benefits decision is subject to reversal.

          The parties agree that benefits of $10,000.00 per month were

    terminated on or about November 30, 2006. The Court, therefore,

    finds Helm entitled to judgment in the amount of $240,000.00 for

    unpaid accrued benefits as of the date of this Order.                  Judgment in

    that amount will be entered when the issues of pre-judgment

    interest, attorney's fees, and costs have been resolved.

          The Court also finds that Helm is entitled to immediate

    reinstatement of benefits, and payment of same as long as he

    remains eligible.

          IT   IS   THEREFORE    ORDERED    that    the    decision    of    Sun    Life

    Assurance Company of Canada to terminate ERISA benefits to Michael

    D. Helm under the Sparks Health System employee welfare benefit

    plan is reversed.

          IT IS FURTHER ORDERED that Michael D. Helm is entitled to

    judgment against Sun Life Assurance Company of Canada in the sum

    of $240,000.00 for past benefits accrued but unpaid as of the date

    of this Order, for which judgment will be entered when issues of

    pre-judgment     interest,    attorney's       fees,    and   costs     have    been

    resolved.

          IT IS FURTHER ORDERED that Sun Life Assurance Company of

    Canada     reinstate   benefits   payments      to     Michael    D.    Helm,   and

    continue paying same for as long as he remains eligible.


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          IT IS FURTHER ORDERED that any petition for pre-judgment

    interest, attorney's fees, and costs be filed within fourteen days

    of the date of this Order, and that any objection thereto be filed

    within eleven days thereafter.

          IT IS SO ORDERED.

                                             /s/ Jimm Larry Hendren
                                           JIMM LARRY HENDREN
                                           UNITED STATES DISTRICT JUDGE




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